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11
     Attorneys for Plaintiff Crago, Inc. and the
12 Proposed Direct Purchaser Class
13                              UNITED STATES DISTRICT COURT
14          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
15 Crago, Inc., on behalf of itself and others      Case No. C07-5944 SC
     similarly situated.
16                                                  STIPULATION RE EXTENSION
                   Plaintiff,                       OF TIME FOR DEFENDANT TO
17                                                  RESPOND TO COMPLAINT;
             vs.                                    [PROPOSED] ORDER EXTENDING
18                                                  TIME TO RESPOND TO
     Chunghwa Picture Tubes, Ltd., Chunghwa         COMPLAINT AND COMPLAINTS IN
19 Picture Tubes (Malaysia) Sdn. Bhd.,              RELATED ACTIONS
     Hitachi, Ltd., Hitachi America, Ltd.,
20 Hitachi Asia, Ltd., Irico Group Corp., Irico
     Display Devices Co., Ltd., LG Electronics,
21 Inc., Matsushita Electric Industrial Co, Ltd.,
     Panasonic Corporation of North America,
22 Orion Electric Co., Ltd., Orion America,
     Inc., Koninklijke Philips Electronics N.V.,
23 Philips Electronics North America,
     Samsung SDI Co., Ltd., Samsung SDI
24 America, Inc., Samtel Color, Ltd., Thai
     CRT Company, Ltd., Toshiba Corporation,
25 Beijing-Matsushita Color CRT Company,
     Ltd., Matsushita Toshiba Picture Display
26 Co., Ltd., and LP Displays International,
     Ltd.
27
                   Defendants.
28

      STIPULATION RE EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT; [PROPOSED] ORDER
 1         WHEREAS the undersigned plaintiff has filed the above-captioned case;
 2         WHEREAS plaintiff alleges antitrust violations by manufacturers, distributors, and
 3 sellers of Cathode-Ray Tubes and products containing Cathode-Ray Tubes (collectively
 4 “CRT products”);
 5         WHEREAS six complaints have been filed to date in federal district courts
 6 throughout the United States by plaintiffs purporting to bring class actions on behalf of
 7 direct and indirect purchasers alleging antitrust violations by manufacturers, distributors,
 8 and sellers of CRT products (collectively “the CRT Cases”);
 9         WHEREAS, a motion is pending before the Judicial Panel on Multidistrict
10 Litigation to transfer the CRT cases to this jurisdiction for coordinated and consolidated
11 pretrial proceedings pursuant to 28 U.S.C. Section 1407, a response to the motion
12 supporting coordination or consolidation has been filed, and plaintiff and defendant
13 Samsung SDI America, Inc. anticipate that additional responses will be filed;
14         WHEREAS plaintiff anticipates the possibility of Consolidated Amended
15 Complaints in the CRT Cases;
16         WHEREAS plaintiff and Samsung SDI America, Inc. have agreed that an orderly
17 schedule for any response to the pleadings in the CRT Cases would be more efficient for
18 the parties and for the Court;
19         WHEREAS plaintiff agrees that the deadline for Samsung SDI America, Inc. to
20 answer, move, or otherwise respond to its Complaint shall be extended until the earliest of
21 the following dates: (1) forty-five days after the filing of a Consolidated Amended
22 Complaint in the CRT Cases; or (2) forty-five days after plaintiff provides written notice to
23 Samsung SDI America, Inc. that plaintiff does not intend to file a Consolidated Amended
24 Complaint, provided however, that in the event that Samsung SDI America, Inc. should
25 agree to an earlier response date in any CRT case, Samsung SDI America, Inc. will
26 respond to the Complaint in the above-captioned action on that earlier date;
27         WHEREAS plaintiff further agrees that this extension is available, without further
28 stipulation with counsel for plaintiff, to all named defendants who notify plaintiff in

                                                 2
      STIPULATION RE EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT; [PROPOSED] ORDER
 1 writing of their intention to join this Stipulation;
 2         WHEREAS this Stipulation does not constitute a waiver by Samsung SDI America,
 3 Inc. of any defense, including but not limited to the defenses of lack of personal
 4 jurisdiction, subject matter jurisdiction, improper venue, sufficiency of process or service
 5 of process;
 6         WHEREAS, with respect to any named defendant joining the Stipulation, this
 7 Stipulation does not constitute a waiver of any defense, including but not limited to the
 8 defenses of lack of personal jurisdiction, subject matter jurisdiction, improper venue,
 9 sufficiency of process or service of process.
10         PURSUANT TO LOCAL RULE 6-1(a), PLAINTIFF AND DEFENDANT
11 SAMSUNG SDI AMERICA, INC., BY AND THROUGH THEIR RESPECTIVE
12 COUNSEL OF RECORD, HEREBY STIPULATE AS FOLLOWS:
13         1.      The deadline for Samsung SDI America, Inc. to answer, move, or otherwise
14 respond to plaintiff's Complaint shall be extended until the earliest of the following dates:
15 (1) forty-five days after the filing of a Consolidated Amended Complaint in the CRT
16 Cases; or (2) forty-five days after plaintiff provides written notice to Samsung SDI
17 America, Inc. that plaintiff does not intend to file a Consolidated Amended Complaint,
18 provided however, that in the event that Samsung SDI America, Inc. should agree to an
19 earlier response date in any CRT case, except by court order, Samsung SDI America, Inc.
20 will respond to the Complaint in the above-captioned case on that earlier date.
21         2.      This extension is available, without further stipulation with counsel for
22 plaintiff, to all named defendants who notify plaintiff in writing of their intention to join
23 this Stipulation;
24         3.      This Stipulation does not constitute a waiver by Samsung SDI America, Inc.,
25 or any other named defendant joining the Stipulation of any defense, including but not
26 limited to the defenses of lack of personal jurisdiction, subject matter jurisdiction,
27 improper venue, sufficiency of process or service of process.
28 / / /

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      STIPULATION RE EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT; [PROPOSED] ORDER
 1         IT IS SO STIPULATED.
 2
 3 DATED: December 13, 2007                   By:          /s/ Bruce L. Simon
                                                      Bruce L. Simon (Bar No. 92641)
 4                                                     bsimon@psswplaw.com
                                                      Esther L. Klisura (Bar No. 221171)
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                                                        KILROY, P.C.
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                                                      Telephone: (816) 421-3355
14                                                    Facsimile: (816) 374-0509
15                                                    Attorneys for Plaintiff Crago, Inc. and
                                                      the Proposed Direct Purchaser Class
16
17
18
19 DATED: December 13, 2007                   By:          /s/ Michael W. Scarborough
                                                      Michael W. Scarborough
20                                                    SHEPPARD, MULLIN, RICHTER &
                                                      HAMPTON LLP
21                                                    Four Embarcadero Center, 17th Floor
                                                      San Francisco, CA 94111-4109
22                                                    Telephone: (415) 774-3234
                                                      Facsimile: (415) 434-3947
23
                                                      Attorneys for Defendant Samsung SDI
24                                                    America, Inc.
25
26         Pursuant to General Order 45, Part X-B, the filer attests that concurrence in the
27 filing of this document has been obtained from Michael W. Scarborough.
28 / / /

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      STIPULATION RE EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT; [PROPOSED] ORDER
 1                                        PROPOSED ORDER
 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3         IT IS FURTHER ORDERED THAT, to conserve party and judicial resources and
 4 in light of the proceedings currently pending before the Judicial Panel on Multidistrict
 5 Litigation to consolidate and transfer all pending CRT Cases to one Court, this extension is
 6 available in all related actions (both current actions and those to be related in the future) to
 7 any defendant that provides written notice to plaintiff's counsel in such action of this Order
 8 and its intention to join this extension, without further stipulation with counsel for
 9 plaintiff(s) in the related actions.
                                                                        S DISTRICT
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12                                                     United States District Court Judge
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      STIPULATION RE EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT; [PROPOSED] ORDER
